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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


BAHRAM SHAKERI                                             *
                           Plaintiff                       *
                                                           *
v.                                                         *       8:21-cv-00549-GJH
                                                           *
PRINCE GEORGE’S COUNTY, MARYLAND                           *
                  Defendant                                *

       ************************************************************************


             DEFENDANTS’ ANSWER PRESENTING DEFENSES TO THE FIRST
                          AMENDED COMPLAINT


       Come now Defendants John Does 1 through 10 and in Answer to Plaintiff’s First

Amended Complaint (ECF No. 19) filed herein, state as follows:

                                         I. General Responses

        1. The Amended Complaint fails to state a claim upon which relief can be granted.

                                        II. Specific Responses

       As to the remaining specific averments, the Defendants state:

       1. Defendants admit in part and deny in part the allegations in paragraph 1 of Plaintiff’s

       First Amended Complaint. Defendants admit that Plaintiff is entitled to file a claim for

       gross negligence at this time, and that the identity of the John Doe Defendants are

       unknown, but it denies that any that any defamatory acts were engaged in that and that any

       defamation claim remains in this case pursuant to the Court’ ruling in its Memorandum

       Opinion. (ECF No.17).

       2. Defendants admit the allegations in paragraph 2 of Plaintiff’s First Amended

       Complaint.


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3. Defendants admit in part and deny in part the allegations in paragraph 3 of Plaintiff’s

First Amended Complaint. Defendants admit that the PGCPD is a primary law

enforcement agency but denies that the County is being sued in this case and it further

denies the fact that the stated business address is correct.

4. Defendants admit the allegations in paragraph 4 of Plaintiff’s First Amended

Complaint.

5. Defendants admit the allegations in paragraph 5 of the Plaintiff’s First Amended

Complaint.

6. Defendants admit the allegations in paragraph 6 of Plaintiff’s First Amended

Complaint.

7. Defendants deny the allegations in paragraph 7 of Plaintiff’s First Amended

Complaint.

8. Defendants deny the allegations in paragraph 8 of Plaintiff’s First Amended

Complaint.

9. Defendants deny the allegations in paragraph 9 of Plaintiff’s First Amended

Complaint.

10. Defendants deny the allegations in paragraph 10 of Plaintiff’s First Amended

Complaint

11. Defendants deny the allegations in paragraph 11 of Plaintiff’s First Amended

Complaint.

12. Defendants admit the allegations in paragraph 12 of Plaintiff’s First Amended

Complaint noting that the bystanders were citizens and not members of the PGCPD.

13. Defendants admit the allegations in paragraph 13 of Plaintiff’s First Amended



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Complaint.

14. Defendants deny the allegations in paragraph 14 of Plaintiff’s First Amended

Complaint.

15. Defendants deny the allegations in paragraph 15 of Plaintiff’s First Amended

Complaint.

16. Defendants admit that this comment was made but denies any conclusory allegations

pertaining to the comment as set forth in paragraph 16 of Plaintiff’s First Amended

Complaint.

17. Defendants admit the allegations in paragraph 17 of Plaintiff’s First Amended

Complaint.

18. Defendants deny the allegations in paragraph 18 of Plaintiff’s First Amended

Complaint.

19. Defendants admit the allegations in paragraph 19 of Plaintiff’s First Amended

Complaint.

20-25. Defendants denies any and all allegations pertaining with Plaintiff’s claim for

defamation in this case set forth in paragraphs 20 through 25 of the Amended Complaint

since they are no longer viable claims as noted in the Court’s Memorandum Opinion

(ECF No. 17).

Complaint.

26. Defendants adopt and incorporate herein by reference all prior admissions and denials

dealing with paragraphs 1 through 25 of Plaintiff’s First Amended Complaint

27. Defendants admit the allegations in paragraph 27 of Plaintiff’s First Amended

Complaint.



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28. Defendants deny the allegations in paragraph 28 of Plaintiff’s First Amended

Complaint.

29. Defendants deny the allegations in paragraph 29 of Plaintiff’s First Amended

Complaint.

                                IV. Wherefore Clause

      Defendants deny all allegations and claims for compensatory damages, pre-

judgment and post judgment interest, attorney’ fees, and other relief sought by the

Plaintiff.

                                  V.   Affirmative Defenses

  1. The Defendants did not engage in conduct amounting to gross negligence.

  2. The John Doe Officer’s actions or omissions were privileged, reasonable, legally

  justified, and based on probable cause.

  3. The Defendants’ actions were constitutional.

  4. The John Doe Officer’s did not act with malice.

  5. The John Doe Officer did not engage in willful and wanton conduct.

  6. The Defendants did not wantonly and willfully inflict injury that is so utterly

  indifferent to the rights of the Plaintiff or when they act as such rights do not exist.

  7. The Defendants did not act with any evil intentions.

  8.The actions of the Defendants were not intentional or willful

  9. The Defendants did not engage in any acts that amounted to an intentional failure to

  perform a manifest duty in reckless disregard of the consequences affecting the life or

  property of another.

  10. The Defendants acted with reasonable care towards the Plaintiff.


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          11. The Defendants did not owe any duty to the Plaintiff.

          12. Plaintiff has failed to demonstrate any damages or harm caused by the Defendants.

          13. Plaintiff’s claim are barred by the doctrine of contributory negligence.

          14. Plaintiffs’ claims are barred by the doctrine of assumption of the risk.

          15. Plaintiff’s Amended Complaint (ECF No. 19) asserts at best, a claim for negligence

          and not gross negligence since there are no facts set forth therein to support a claim for

          gross negligence.

          16. The Defendants are entitled to public official and statutory immunity because they

          did not act with malice and they were acting within the scope of their employment.

         17. The damages awards are limited by law.

         18. Plaintiff is not entitled to any punitive damages or attorneys’ fees.

         19. Defendants have not been served or placed on notice of this action and thus, they

are not subject to the jurisdiction of this Court.

        20. The Defendants reserve the right to raise any additional affirmative defenses

        should they become available at a later date.



                                                         Respectfully submitted,

                                                         RHONDA L. WEAVER
                                                         COUNTY ATTORNEY

                                                         ANDREW J. MURRAY
                                                         DEPUTY COUNTY ATTORNEY




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                                           By:    /s/__________________________
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                                                  tbgofreed@co.pg.md.us
                                                  Counsel for Defendant




                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 13th day of January 2022, a copy of the foregoing

document was electronically transmitted to this Court and served via CM/ECF and email on:

Faisal Gill, Esq.
1717 Pennsylvania Avenue NW
Washington, DC 20006
Fgill@glawoffice.com
Counsel for Plaintiff



                                                  /s/_________________________________
                                                  Tonia Belton-Gofreed, Fed. Bar No. 16176
DAET FILED: January 13,2022




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